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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                                      CRIMINAL ACTION NO. 3:08CR63


CAHAFER BENJAMIN, DALIANA
MENEFEE, AND KAO WOKOMA


                                              ORDER

       This cause is before the Court on defendant Benjamin’s Motion for Continuance of Trial

Setting [31]. The Court, having reviewed the motion and being otherwise fully advised in the

premises, finds as follows, to-wit:

       The defendant seeks a continuance of the trial set to commence on September 22, 2008. In

support of the motion, defense counsel avers that he has had insufficient time to devote to trial

preparation due to his obligations in numerous other matters and that he is in need of additional time

to review discovery and meet with his client. The government has no objection to the requested

relief. Based on the foregoing, the Court finds that the defendant’s motion is well-taken and should

be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. §

3161(h)(8)(A), the period of delay from September 22, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford defendant a reasonable time for adequate and

effective preparation of his defense. Therefore, the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy trial.
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 IT IS, THEREFORE, ORDERED AND ADJUDGED that

 1.    Defendant Benjamin’s Motion for Continuance of Trial Setting [31] is GRANTED;

 2.    That the trial of this matter is continued as to all defendants until Monday, October

       27, 2008 at 9:00 a.m. in the United States District Courthouse in Greenville,

       Mississippi;

 3.    That the delay from September 22, 2008 until October 27, 2008 is excluded as set out

       above;

 4.    That the deadline for filing pretrial motions is October 6, 2008;

 5.    That the deadline for submitting a plea agreement is October 14, 2008.

 SO ORDERED, this the 9th day of September, 2008.

                                             /s/ W. Allen Pepper, Jr.
                                             W. ALLEN PEPPER, JR.
                                             UNITED STATES DISTRICT JUDGE
